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UNITED STATES DISTRICT COURT '
WESTERN DISTRICT OF TENNESSEE 05 JUH __9 PH w 33
EASTERN DIVISION `

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MILTON SMITH, )
Plaintiff, §
vs. § Civil Action No.: 1:03-1233- B/P
CORRECTIONS CORPORATION §
OF AMERICA, et al., )
Defendants. §

 

AGREED ORDER HOLDING DEADLINES IN ABEYANCE

 

lt appears to the satisfaction of the Court that the parties have agreed, as
evidenced by the signatures Oi` counsel for all parties below, that all deadlines be held in
abeyance until after a scheduled Status Conference on June 24, 2005. This matter being
agreeable with the Court, it is hereby,

ORDERED, that all current deadlines are held in abeyance until after the
Scheduled Status Conference on June 24, 2005.

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UNITED STATES'B-I-ST-RI-€-'F JUDGEm mp q m

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Case 1:03-cV-01233-.]DB-tmp Document 35 Filed 06/09/05 Page 2 of 3 Page|D 71

APPROVED FOR ENTRY:

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CERTIFICATE OF SERVICE

l certify that a copy of the foregoing has been served by U.S. mail upon Wayne
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Columbia, SC 29201 on June , 2005.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 35 in
case 1:03-CV-01233 Was distributed by faX, mail, or direct printing on
June 13, 2005 to the parties listed.

 

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Honorable J. Breen
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